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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                    MAR 19 2024
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                     No. 22-50144

               Plaintiff - Appellee,
                                               D.C. No. 2:21-cr-00491-SB-1
   v.                                          U.S. District Court for Central
                                               California, Los Angeles
 JEFFREY FORTENBERRY,
                                               MANDATE
               Defendant - Appellant.


        The judgment of this Court, entered December 26, 2023, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT
